                                               Certificate Number: 12459-AZ-CC-031201588


                                                             12459-AZ-CC-031201588




                    CERTIFICATE OF COUNSELING

I CERTIFY that on June 19, 2018, at 7:37 o'clock AM PDT, Mark Swartz
received from Abacus Credit Counseling, an agency approved pursuant to 11
U.S.C. § 111 to provide credit counseling in the District of Arizona, an individual
[or group] briefing that complied with the provisions of 11 U.S.C. §§ 109(h) and
111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   June 19, 2018                          By:      /s/Charity Starks


                                               Name: Charity Starks


                                               Title:   Credit Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).
